883 F.2d 70Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Oliver WEATHERS, Plaintiff--Appellant,v.Mack JARVIS, Superintendent, Piedmont Correctional Center,Steward Epleey, Dining Hall Superintendent,Piedmont Correctional Center,Defendants--Appellees.
    No. 89-6593.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 15, 1989.Decided Aug. 10, 1989.
    
      Oliver Weathers, appellant pro se.
      Before DONALD RUSSELL and WIDENER, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Oliver Weathers appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Weathers v. Jarvis, C/A No. 89-213-CRT-H (E.D.N.C. Mar. 28, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    